 1   SHAWN ANDERSON
     United States Attorney
 2   LAURA C. SAMBATARO
     Assistant U.S. Attorney
 3   Suite 500, Sirena Plaza
     108 Hernan Cortez Avenue
 4   Hagåtña, Guam 96910-5009
     PHONE: (671) 479-4146
 5   FAX: (671) 472-7215

 6   Attorneys for the United States of America

 7
                                IN THE DISTRICT COURT OF GUAM
 8
     UNITED STATES OF AMERICA,                        MAGISTRATE CASE NO. 20-00112
 9
                           Plaintiff,
10
            vs.                                                         ORDER
11                                                         Granting Application to Unseal Case
     TAO LIU,                                                      and All Proceedings
12
     a/k/a “Xiong Liu,” a/k/a “Ming Lu,” a/k/a
     “Antony Liu,” a/k/a “Lucas Liu,” a/k/a “Tao
13
     Jason Liu,” a/k/a “Antony Lee,” a/k/a “Zhong
     Liu,”
14
                           Defendant.
15

16
            Based on the United States’ Application to Unseal the Case and All Proceedings and for
17
     good cause shown, the court hereby grants the motion and orders that the case be unsealed.
18
            IT IS SO ORDERED.
19
                                                                      /s/ Michael J. Bordallo
20                                                                        U.S. Magistrate Judge
                                                                      Dated: Oct 20, 2020
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                  Case 1:20-mj-00112 Document 11 Filed 10/20/20 Page 1 of 1
